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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

 UNITED STATES OF AMERICA,

 v.          CASE NO. 8:14-CR-64-T-17TGW

 YOEL EMILIO BAEZ-HERNANDEZ.

                                     /


                                         ORDER


       This cause is before the Court sua sponte. The Eleventh Circuit Court of
 Appeals has entered its mandate reversing and remanding this case for a new trial.
 (Dkt. 491). A status conference is scheduled on Friday, August 5, 2016 at 1:30 p.m.
 Defendant Yoel Emilio Baez-Hernandez, Reg. No. 02203-104, is in custody at McRae
 Correctional Institution, 112 Jim Hammock Dr., McRae, GA, 31055. The Court directs
 the U.S. Marshal to transport Defendant Baez-Hernandez to Florida on Thursday,
 August 4, 2016 so that Defendant’s counsel can confer with Defendant Baez-
 Hernandez prior to the status conference on August 5, 2016. Accordingly, it is


       ORDERED that the U.S. Marshal shall transport Defendant Yoel Emilio Baez-
 Hernandez to Florida on Thursday, August 4, 2016.
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 Copies to:
 All parties and counsel of record
 U.S. Marshal




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